Case 5:08-cr-00039-GEC-BWC            Document 323       Filed 09/28/15     Page 1 of 2
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  UN ITED STATES OF A M ERICA
                                                    CaseN o.5:08CR00039-01

  V.                                                M EM O M ND U M O PIN IO N

  BRIAN ANTON IO STRICKLAND,                        By:Hon.Glen E.Conrad
                                                    ChiefUnited StatesDistrictJudge
         D efendant.

       On April29,2009,thedefendant,Brian Antonio Strickland,entered aplea ofguilty to

conspiracytodistribute50gramsormoreofcocainebase,inviolationof21U.S.C.jj841(a)(1)
and(b)(1)(A),and846,andtopossessionofatirearm infurtheranceofadrugtraffickingcrime,in
violationof18U.S.C.j924(c). Hewassubsequentlysentencedtoaterm ofimprisonmentofl35
m onthsforthe drug trafficking offense,plus60 m onthsforthe firearm offense. On N ovem ber

15,2011,thecourtgrantedareductionin sentence,pursuantto 18U.S.C.j3582/)(2)and
A m endm ent750 to the U nited States Sentencing G uidelines,and im posed a reduced term of

imprisonmentof120m onthsforthedrug trafficking offense,plus60 m onthsforthefirearm

offense. Thedefendanthasnow movedforareductioninsentenceunder18U.S.C.j3582(c)(2)
and Am cndment782 to theSentencing Guidelines. Forthefollowing reasons,them otion m ust

be denied.

       Pursuantto its statutory authority,the United States Sentencing Com m ission hasam ended

theDrugQuantityTableinj2D1.1oftheSentencingGuidelines,whichprovidesthebaseoffense
levelsformostfederalcontrolledsubstanceoffenses(Amendment782). TheSentencing
Comm ission hasfurtherdecided that,effectiveNovember1,2015,the am ended guideline
provisions w illapply retroactively to defendants who w ere sentenced underpriorversions ofthe
guidelinesand w ho are stillincarcerated. The practicaleffectofthe Sentencing Com m ission's
actions isthatcertain federaldefendantsconvicted ofoffensesinvolving controlled substances

maybeeligiblef0rareductionintheircurrentsentences,pursuantto 18U.S.C.j3582(c)(2).
  Case 5:08-cr-00039-GEC-BWC             Document 323        Filed 09/28/15      Page 2 of 2
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       Inthiscase,thedefendantwassubjecttoastatutorilyrequiredminimum term of
imprisonmentof120monthsforthednlgtraffickingoffense.* See21U.S.C.j841(b)(1)(A)
(2006)(requiringaperiodofincarceration ofnotlessthan 10yearsforanoffenseinvolving50
grmnsormoreofcocainebase). Although j841(b)(1)(A)wasamendedbytheFairSentencing
A ctof2010,the changes to the statute do notapply retroactively to reduce orelim inate the

mandatoryminimum penaltiestowhichthedefendantwassubjectatthetimeofhisoriginal
conviction. SeeUnited Statesv.Black,737F.3d280,287(4thCir.2013)(concluding'ûthatthe
reduced statutory m inim um sentencesenacted in the FSA on A ugust3,2010,do n0tapply

retroactively to defendantswho both comm itted crim esand weresentenced forthose crim es

beforeAugust3,2010'')(citingUnited Statesv.Bullard,645F.3d237,248(4th Cir.2011:. ln
addition,because the defendantalready received the low estterm ofim prisonm entauthorized by

statute,he is noteligible fora sentence reduction underthe new ly am ended provisions ofthe
advisory sentencing guidelines. Sim ply stated,the am ended guideline provisionsapplicable to

controlled substance offensesdonotalteroraffectthem andatory m inim um penaltiesrequiredby

statute. SeeU.S.S.G.j1B.10app.n.1(a). Forthesereasons,thedefendant'smotionfor
reduction in sentence m ustbe denied.
       The Clerk isdirected to send copies ofthis m em orandlzm opinion and the accom panying

orderto the defendantand a1lcounselofrecord.
       ENTER:This 0.3 d dayofseptember, 2015.

                                                      ChiefU nited States D istrictJudge

*The 6o-month consecutivesentenceim posed forthefirearm offensewasalso requiredby statute. See 18
U.S.C.j924(c)(1)(A)(i).
